189 F.2d 967
    George W. LEWIS, Appellantv.Earl BEEZLEY et al.
    No. 14338.
    United States Court of Appeals Eighth Circuit.
    May 16, 1951.
    
      Appeal from the United States District Court for the District of Nebraska.
      Varro E. Tyler, Nebraska City, Neb., and Wallace S. Myers, San Anselmo, Cal., for appellant.
      Armstrong &amp; McKnight, Auburn, Neb. and Chambers, Holland &amp; Groth, Lincoln, Neb., for appellees.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on stipulation of parties.
    
    